
PER CURIAM.
Lane appeals denial of his motion to correct sentence, arguing that he is entitled to be resentenced pursuant to the Florida Youthful Offender Act, Section 958.011, et seq., Florida Statutes (1979). We agree and reverse.
The trial court ruled that Lane’s conviction of armed robbery precluded his treatment as a youthful offender. At the time of his order, the trial court did not have the benefit of our ruling in Lee v. State, 399 So.2d 1027 (Fla. 1st DCA 1981), in which we held that an armed robbery conviction does not preclude youthful offender treatment. Accordingly, the order is reversed, and the cause is remanded for further proceedings consistent with Lee v. State, supra.
SHAW, WENTWORTH and THOMPSON, JJ., concur.
